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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                   AT PIKEVILLE

UNITED STATES OF AMERICA,                  )
                                           )      CRIMINAL NO. 7:17-01
              Plaintiff,                   )
v.                                         )
                                           )      OPINION AND ORDER
                                           )
DEVONTEA M. FONTENEAU,                     )
                                           )
              Defendant.                   )

                                        ** ** ** ** **

       This matter is before the Court on two identical motions (DE 276, 277) by defendant

Devontea M. Fonteneau. By judgment dated February 5, 2018, the Court sentenced

Fonteneau to 72 months after he pleaded guilty to conspiring to distribute crack cocaine.

With both motions, Fonteneau now asks the Court to order that he receive credit toward his

sentence for the time he claims that he served in federal custody prior to his sentencing.

       Whether a defendant is entitled to credit for time served on a federal sentence is

controlled by 18 U.S.C. § 3585(b). The language of that statute reads:

        A defendant shall be given credit toward the service of a term of
       imprisonment for any time he has spent in official detention prior to the date
       the sentence commences


              (1) as a result of the offense for which the sentence was imposed; or

              (2) as a result of any other charge for which the defendant was
                  arrested after the commission of the offense for which the sentence
                  was imposed;

       that has not been credited against another sentence.


18 U.S.C. § 3585(b).
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   However, “[a]fter a district court sentences a federal offender, the Attorney General,

through the BOP, has the responsibility for administering the sentence.” United States v.

Wilson, 503 U.S. 329, 335 (1992). Thus, any request for credit for time served prior to

sentencing under 18 U.S.C. § 3585(b) must first be made to the Attorney General through

the BOP upon imprisonment after sentencing. Rogers v. United States, 180 F.3d 349, 357–

58 (1st Cir. 1999). See also Barker v. Barnhart, No. 18-5969, 2019 WL 4391453, at *3 (6th

Cir. June 4, 2019).

   Fonteneau does not state that he has utilized the BOP’s administrative process to

request credit for time served. See 28 C.F.R. § 542.10 et al. If, after exhausting all BOP

procedures, he is dissatisfied with the BOP’s final decision, he may seek judicial review of it

by filing a petition under 28 U.S.C. § 2241. See Rogers, 180 F.3d at 358; Barker, 2019 WL

4391453, at *3

       Accordingly, the Court hereby ORDERS that Fonteneau’s motions asking that the

Court order that he receive credit for time served prior to his sentencing (DE 276, 277) are

DENIED.

       Dated May 5, 2020




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